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                            9:00 A.M.
        THE ALBERT BRANSON MARIS COURTROOM (19TH FLOOR)

                                            TUESDAY, JULY 08, 2025

Coram: BIBAS, FREEMAN and CHUNG, Circuit Judges

 Nos. 25-1555/25-1556/25-1557/25-1558/25-1559/25-1560/25-1561/25-1562/25-1563/
   25-1564/25-1565/25-1566/25-1567/25-1568/25-1569/25-1570/25-1571/25-1572/
   25-1573/25-1574/25-1575/25-1576/25-1577/25-1578/25-1579/25-1580/25-1581/
   25-1582/25-1583/25-1584/25-1585/25-1586/25-1587/25-1588/25-1589/25-1590/
                    25-1591/25-1592/25-1593/25-1676/25-1677

                   Atlas Data Privacy Corporation as assignee
                  of individuals who are Covered Persons; et al.
                                        v.
                                 We Inform, LLC,
                              Appellant in 25-1555
                                       ___

                   Atlas Data Privacy Corporation as assignee
                  of individuals who are Covered Persons; et al.
                                        v.
                                 Infomatics, LLC,
                              Appellant in 25-1556
                                       ___

                   Atlas Data Privacy Corporation as assignee
                  of individuals who are Covered Persons; et al.
                                        v.
                           The People Searchers, LLC,
                                Appellant 25-1557
                                       ___

                  ATLAS DATA PRIVACY CORP, as assignee
                  of individuals who are Covered Persons; et al.
                                        v.
                                DM GROUP INC,
                              Appellant in 25-1558

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25-1564/25-1565/25-1566/25-1567/25-1568/25-1569/25-1570/25-1571/25-1572/
25-1573/25-1574/25-1575/25-1576/25-1577/25-1578/25-1579/25-1580/25-1581/
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25-1591/25-1592/25-1593/25-1676/25-1677 (Continued)

                    Atlas Data Privacy Corporation as assignee
                   of individuals who are Covered Persons; et al.
                                         v.
                                Deluxe Corporation,
                               Appellant in 25-1559
                                        ___

                    Atlas Data Privacy Corporation as assignee
                   of individuals who are Covered Persons; et al.
                                         v.
              Quantarium Alliance, LLC, and Quantarium Group, LLC,
                               Appellants in 25-1560
                                        ___

                    Atlas Data Privacy Corporation as assignee
                   of individuals who are Covered Persons; et al.
                                         v.
                                Yardi Systems, Inc.,
                               Appellant in 25-1561
                                        ___

                    Atlas Data Privacy Corporation as assignee
                   of individuals who are Covered Persons; et al.
                                         v.
                           Digital Safety Products, LLC,
                                 Appellant 25-1562


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25-1573/25-1574/25-1575/25-1576/25-1577/25-1578/25-1579/25-1580/25-1581/
25-1582/25-1583/25-1584/25-1585/25-1586/25-1587/25-1588/25-1589/25-1590/
25-1591/25-1592/25-1593/25-1676/25-1677 (Continued)

                    Atlas Data Privacy Corporation as assignee
                   of individuals who are Covered Persons; et al.
                                         v.
                             Civil Data Research, LLC,
                               Appellant in 25-1563
                                        ___

                     Atlas Data Privacy Corporation as assignee
                    of individuals who are Covered Persons; et al.
                                          v.
            Scalable Commerce, LLC, and National Data Analytics, LLC,
                                Appellants in 25-1564
                                         ___

                    Atlas Data Privacy Corporation as assignee
                   of individuals who are Covered Persons; et al.
                                         v.
                                Labels & Lists, Inc.,
                               Appellant in 25-1565
                                        ___

                    Atlas Data Privacy Corporation as assignee
                   of individuals who are Covered Persons; et al.
                                         v.
                            Innovis Data Solutions, Inc.,
                               Appellant in 25-1566
                                        ___

                     ATLAS DATA PRIVACY CORPORATION,
              as assignee of individuals who are Covered Persons; et al.
                                          v.
                            ACCURATE APPEND, INC.,
                                 Appellant in 25-1567


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25-1582/25-1583/25-1584/25-1585/25-1586/25-1587/25-1588/25-1589/25-1590/
25-1591/25-1592/25-1593/25-1676/25-1677 (Continued)

                     ATLAS DATA PRIVACY CORPORATION
              as assignee of individuals who are Covered Persons; et al.
                                          v.
                    ZILLOW, INC., and ZILLOW GROUP, INC.,
                                Appellants in 25-1568
                                         ___

                     ATLAS DATA PRIVACY CORPORATION
              as assignee of individuals who are Covered Persons; et al.
                                          v.
                                  EQUIMINE, INC.,
                                 Appellant in 25-1569
                                         ___

                   ATLAS DATA PRIVACY CORPORATION
            as assignee of individuals who are Covered Persons; et al.
                                        v.
 THOMSON REUTERS CORPORATION, THOMSON REUTERS HOLDINGS INC.,
THOMSON REUTERS CANADA LIMITED, THOMSON REUTERS APPLICATIONS
    INC., THOMSON REUTERS ENTERPRISE CENTRE GMBH, and WEST
                         PUBLISHING CORPORATION

    THOMSON REUTERS CORPORATION, THOMSON REUTERS CANADA
   LIMITED, THOMSON REUTERS ENTERPRISE CENTRE GMBH, and WEST
                    PUBLISHING CORPORATION
                       Appellants in 25-1570
                               ___

                     ATLAS DATA PRIVACY CORPORATION
              as assignee of individuals who are Covered Persons; et al.
                                          v.
                               MELISSA DATA CORP.,
                                 Appellant in 25-1571


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25-1564/25-1565/25-1566/25-1567/25-1568/25-1569/25-1570/25-1571/25-1572/
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25-1582/25-1583/25-1584/25-1585/25-1586/25-1587/25-1588/25-1589/25-1590/
25-1591/25-1592/25-1593/25-1676/25-1677 (Continued)

                     ATLAS DATA PRIVACY CORPORATION
              as assignee of individuals who are Covered Persons; et al.
                                          v.
                    RESTORATION OF AMERICA and VOTER
                        REFERENCE FOUNDATION LLC,
                                Appellants in 25-1572
                                         ___

                     ATLAS DATA PRIVACY CORPORATION
              as assignee of individuals who are Covered Persons; et al.
                                          v.
                                      i360, LLC,
                                 Appellant in 25-1573
                                         ___

                     ATLAS DATA PRIVACY CORPORATION
              as assignee of individuals who are Covered Persons; et al.
                                          v.

        GOHUNT, LLC, GOHUNT MANAGEMENT HOLDINGS, LLC, and
              GOHUNT MANAGEMENT HOLDINGS II, LLC,
                         Appellants in 25-1574
                                 ___

                     ATLAS DATA PRIVACY CORPORATION
              as assignee of individuals who are Covered Persons; et al.
                                          v.
                                   ACCUZIP, INC.,
                                 Appellant in 25-1575
                                         ___

                     ATLAS DATA PRIVACY CORPORATION
              as assignee of individuals who are Covered Persons; et al.
                                          v.
                         SYNAPTIX TECHNOLOGY, LLC,
                            and VOTERRECORDS.COM,
                                Appellants in 25-1576
                                                           Continued…
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25-1564/25-1565/25-1566/25-1567/25-1568/25-1569/25-1570/25-1571/25-1572/
25-1573/25-1574/25-1575/25-1576/25-1577/25-1578/25-1579/25-1580/25-1581/
25-1582/25-1583/25-1584/25-1585/25-1586/25-1587/25-1588/25-1589/25-1590/
25-1591/25-1592/25-1593/25-1676/25-1677 (Continued)

                     ATLAS DATA PRIVACY CORPORATION
              as assignee of individuals who are Covered Persons; et al.
                                          v.
                      JOY ROCKWELL ENTERPRISES, INC.,
                                 Appellant in 25-1577
                                         ___

                     ATLAS DATA PRIVACY CORPORATION
              as assignee of individuals who are Covered Persons; et al.
                                          v.
                          FORTNOFF FINANCIAL, LLC,
                                 Appellant in 25-1578
                                         ___

                     ATLAS DATA PRIVACY CORPORATION
              as assignee of individuals who are Covered Persons; et al.
                                          v.
              MYHERITAGE LTD. and MYHERITAGE (USA), INC.,

                               MYHERITAGE LTD.,
                               Appellant in 25-1579
                                       ___

                     ATLAS DATA PRIVACY CORPORATION
              as assignee of individuals who are Covered Persons; et al.
                                          v.
                               E-MERGES.COM INC.,
                                 Appellant in 25-1580
                                         ___

                     ATLAS DATA PRIVACY CORPORATION,
              as assignee of individuals who are Covered Persons; et al.
                                          v.
                                   NUWBER, INC.,
                                 Appellant in 25-1581

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25-1591/25-1592/25-1593/25-1676/25-1677 (Continued)

                     ATLAS DATA PRIVACY CORPORATION,
              as assignee of individuals who are Covered Persons; et al.
                                          v.
                               ROCKETREACH LLC,
                                 Appellant in 25-1582
                                         ___

                     ATLAS DATA PRIVACY CORPORATION,
              as assignee of individuals who are Covered Persons; et al.
                                          v.
                    BELLES CAMP COMMUNICATIONS, INC.,
                                 Appellant in 25-1583
                                         ___

                     ATLAS DATA PRIVACY CORPORATION,
              as assignee of individuals who are Covered Persons; et al.
                                          v.
                              PROPERTYRADAR, INC.,
                                 Appellant in 25-1584
                                         ___

                     ATLAS DATA PRIVACY CORPORATION,
              as assignee of individuals who are Covered Persons; et al.
                                          v.
                        THE ALESCO GROUP, L.L.C.; et al..
                                Appellants in 25-1585
                                         ___

                     ATLAS DATA PRIVACY CORPORATION,
              as assignee of individuals who are Covered Persons; et al.
                                          v.
                                SEARCHBUG, INC.,
                                 Appellant in 25-1586


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25-1591/25-1592/25-1593/25-1676/25-1677 (Continued)

                     ATLAS DATA PRIVACY CORPORATION,
              as assignee of individuals who are Covered Persons; et al.
                                          v.
                                 AMERILIST, INC.,
                                 Appellant in 25-1587
                                         ___

                     ATLAS DATA PRIVACY CORPORATION,
              as assignee of individuals who are Covered Persons; et al.
                                          v.
                             US DATA CORPORATION,
                                 Appellant in 25-1588
                                         ___

                     ATLAS DATA PRIVACY CORPORATION,
              as assignee of individuals who are Covered Persons; et al.
                                          v.
                     SMARTY, LLC; SMARTYSTREETS, LLC,
                                Appellants in 25-1589
                                         ___

                     ATLAS DATA PRIVACY CORPORATION,
              as assignee of individuals who are Covered Persons; et al.
                                          v.
                COMPACT INFORMATION SYSTEMS, LLC; et al.
                                Appellants in 25-1590
                                         ___

                     ATLAS DATA PRIVACY CORPORATION,
              as assignee of individuals who are Covered Persons; et al.
                                          v.
                                  DARKOWL, LLC,
                                 Appellant in 25-1591

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25-1591/25-1592/25-1593/25-1676/25-1677 (Continued)

                      ATLAS DATA PRIVACY CORPORATION,
               as assignee of individuals who are Covered Persons; et al.
                                           v.
                                  SPY DIALER, INC.,
                                  Appellant in 25-1592
                                          ___

                      ATLAS DATA PRIVACY CORPORATION,
               as assignee of individuals who are Covered Persons; et al.
                                           v.
                        LIGHTHOUSE LIST COMPANY, LLC,
                                  Appellant in 25-1593
                                          ___

                      Atlas Data Privacy Corporation as assignee
                     of individuals who are Covered Persons; et al.
                                            v.
                                    First Direct, Inc.,
                                 Appellant in 25-1676
                                           ___

                      Atlas Data Privacy Corporation as assignee
                     of individuals who are Covered Persons; et al.
                                           v.
                               Greenflight Venture Corp.,
                                 Appellant in 25-1677

Counsel for Appellants                         Counsel for Appellee

MICHAEL L. BERRY                               DAVID BOIES
                                               [Appellee Counsel]
                                               (10 minutes per Court)

                                               MICHAEL L. ZUCKERMAN
                                               [Intervenor]
                                               (5 minutes per Court)

(15 minutes Total per Court)                   (15 minutes Total per Court)
